                                                                             Case 4:19-cv-00655-BSM Document 201-23 Filed 05/19/22 Page 1 of 1



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                                                                                                     Billing
                               BILLING SUMMARY
                                                                                               Sarah Howard Jenkins, PLLC
                                                                                                      Client: Warren


                                                                                                                                 Plaintiff's Exhibit 18




                                                                                                   Billing Summary

                                  Date: 2/1/2021                                                                                                          Cost




                                      11/02/2020              - 12/01/2020                                                                                $ 3.20




                                                                                         Billing History

                                                     Total




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